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 5
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 6   EDMOND NEAL
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     EDMOND NEAL,                               Case No.:
11
                  Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                              RELIEF AND DAMAGES FOR
           vs.                                  VIOLATION OF:
13
                                                1. AMERICANS WITH DISABILITIES
14   RAGAB ENTERPRISE, INC. D/B/A               ACT, 42 U.S.C. §12131 et seq.;
15   SHELL; ROBERT F WALTERS; and               2. CALIFORNIA’S UNRUH CIVIL
     DOES 1 to 10,                              RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                              52 et seq.;
                  Defendants.
17                                              3. CALIFORNIA’S DISABLED
                                                PERSONS ACT, CAL CIV. CODE §54 et
18                                              seq.
19                                              4. CALIFORNIA’S UNFAIR
                                                COMPETITION ACT, CAL BUS & PROF
20                                              CODE § 17200, et seq.
21                                              5. NEGLIGENCE
22
23
24         Plaintiff EDMOND NEAL (“Plaintiff”) complains of Defendants RAGAB
25   ENTERPRISE, INC. D/B/A SHELL; ROBERT F WALTERS; and DOES 1 to 10
26   (“Defendants”) and alleges as follows:
27
28




                                   COMPLAINT FOR DAMAGES - 1
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 1                                 JURISDICTION AND VENUE
 2         1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9   property which is the subject of this action is located in this district, Los Angeles County,
10   California, and that Plaintiff’s causes of action arose in this district.
11                                             PARTIES
12         4.     Plaintiff is a California resident with a physical disability with substantial
13   limitations in her ability to walk. Plaintiff requires the use of a wheelchair at all times
14   when traveling in public.
15         5.     Defendants are, or were at the time of the incident, the real property owners,
16   business operators, lessors and/or lessees of the real property for SHELL (“Business”)
17   located at or about 5151 Florence Ave., Bell, California.
18         6.     The true names and capacities, whether individual, corporate, associate or
19   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
20   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
21   Court to amend this Complaint when the true names and capacities have been
22   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
23   fictitiously named Defendants are responsible in some manner, and therefore, liable to
24   Plaintiff for the acts herein alleged.
25         7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
26   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
27   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
28




                                    COMPLAINT FOR DAMAGES - 2
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 1   the things alleged herein was acting with the knowledge and consent of the other
 2   Defendants and within the course and scope of such agency or employment relationship.
 3         8.     Whenever and wherever reference is made in this Complaint to any act or
 4   failure to act by a defendant or Defendants, such allegations and references shall also be
 5   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6   and severally.
 7                                 FACTUAL ALLEGATIONS
 8         9.     On or about January 13, 2020, Plaintiff went to the Business. On or about
 9   February 25, 2020, Plaintiff returned to the Business. The Business is a gas station and a
10   convenient store business establishment, which is open to the public, is a place of public
11   accommodation and affects commerce through its operation.
12         10.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with her ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business. To the extent
15   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16   limited to, the following:
17                a.     Defendant failed to maintain the parking space designated for persons
18                       with disabilities to comply with the federal and state standards.
19                       Defendants failed to provide the access aisles with level surface
20                       slopes.
21                b.     Defendants failed to comply with the federal and state standards for
22                       the parking space designated for persons with disabilities. Defendants
23                       failed to post required signage such as “Minimum Fine $250.”
24                c.     Defendant failed to maintain the parking space designated for persons
25                       with disabilities to comply with the federal and state standards.
26                       Defendants failed to paint the ground as required.
27         11.    These barriers and conditions denied Plaintiff the full and equal access to the
28   Business. Plaintiff lives about 9 miles away from the Business. Plaintiff wishes to



                                   COMPLAINT FOR DAMAGES - 3
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 1   patronize the Business again as the Business is conveniently located. However, Plaintiff
 2   is deterred from visiting the Business because her knowledge of these violations prevents
 3   her from returning until the barriers are removed.
 4         12.    Based on the violations, Plaintiff alleges, on information and belief, that
 5   there are additional barriers to accessibility at the Business after further site inspection.
 6   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
 7   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 8         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
 9   knew that particular barriers render the Business inaccessible, violate state and federal
10   law, and interfere with access for the physically disabled.
11         14.    At all relevant times, Defendants had and still have control and dominion
12   over the conditions at this location and had and still have the financial resources to
13   remove these barriers without much difficulty or expenses to make the Business
14   accessible to the physically disabled in compliance with ADDAG and Title 24
15   regulations. Defendants have not removed such barriers and have not modified the
16   Business to conform to accessibility regulations.
17                                   FIRST CAUSE OF ACTION
18       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
19         15.    Plaintiff incorporates by reference each of the allegations in all prior
20   paragraphs in this complaint.
21         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
22   shall be discriminated against on the basis of disability in the full and equal enjoyment of
23   the goods, services, facilities, privileges, advantages, or accommodations of any place of
24   public accommodation by any person who owns, leases, or leases to, or operates a place
25   of public accommodation. See 42 U.S.C. § 12182(a).
26         17.    Discrimination, inter alia, includes:
27                a.     A failure to make reasonable modification in policies, practices, or
28                       procedures, when such modifications are necessary to afford such



                                     COMPLAINT FOR DAMAGES - 4
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 1                    goods, services, facilities, privileges, advantages, or accommodations
 2                    to individuals with disabilities, unless the entity can demonstrate that
 3                    making such modifications would fundamentally alter the nature of
 4                    such goods, services, facilities, privileges, advantages, or
 5                    accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 6              b.    A failure to take such steps as may be necessary to ensure that no
 7                    individual with a disability is excluded, denied services, segregated or
 8                    otherwise treated differently than other individuals because of the
 9                    absence of auxiliary aids and services, unless the entity can
10                    demonstrate that taking such steps would fundamentally alter the
11                    nature of the good, service, facility, privilege, advantage, or
12                    accommodation being offered or would result in an undue burden. 42
13                    U.S.C. § 12182(b)(2)(A)(iii).
14              c.    A failure to remove architectural barriers, and communication barriers
15                    that are structural in nature, in existing facilities, and transportation
16                    barriers in existing vehicles and rail passenger cars used by an
17                    establishment for transporting individuals (not including barriers that
18                    can only be removed through the retrofitting of vehicles or rail
19                    passenger cars by the installation of a hydraulic or other lift), where
20                    such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
21              d.    A failure to make alterations in such a manner that, to the maximum
22                    extent feasible, the altered portions of the facility are readily
23                    accessible to and usable by individuals with disabilities, including
24                    individuals who use wheelchairs or to ensure that, to the maximum
25                    extent feasible, the path of travel to the altered area and the
26                    bathrooms, telephones, and drinking fountains serving the altered
27                    area, are readily accessible to and usable by individuals with
28                    disabilities where such alterations to the path or travel or the



                                COMPLAINT FOR DAMAGES - 5
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 1                      bathrooms, telephones, and drinking fountains serving the altered
 2                      area are not disproportionate to the overall alterations in terms of cost
 3                      and scope. 42 U.S.C. § 12183(a)(2).
 4         18.    Under the ADA, the method and color of marking are to be addressed by
 5   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 6   Building Code (“CBC”), the parking space identification signs shall include the
 7   International Symbol of Accessibility. Parking identification signs shall be reflectorized
 8   with a minimum area of 70 square inches. Additional language or an additional sign
 9   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
10   parking space identification sign shall be permanently posted immediately adjacent and
11   visible from each parking space, shall be located with its centerline a maximum of 12
12   inches from the centerline of the parking space and may be posted on a wall at the
13   interior end of the parking space. See CBC § 11B-502.6, et seq.
14         19.    Moreover, an additional sign shall be posted either in a conspicuous place at
15   each entrance to an off-street parking facility or immediately adjacent to on-site
16   accessible parking and visible from each parking space. The additional sign shall not be
17   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
18   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
19   designated accessible spaces not displaying distinguishing placards or special license
20   plates issued for persons with disabilities will be towed always at the owner’s expense…”
21   See CBC § 11B-502.8, et seq.
22         20.    Here, Defendants failed to provide a sign stating “Minimum fine $250.”
23         21.    For the parking spaces, access aisles shall be marked with a blue painted
24   borderline around their perimeter. The area within the blue borderlines shall be marked
25   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
26   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
27   be painted on the surface within each access aisle in white letters a minimum of 12 inches
28




                                   COMPLAINT FOR DAMAGES - 6
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 1   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 2   11B-502.3.3.
 3         22.      Here, Defendants failed to properly maintain the access aisles as there was
 4   no “NO PARKING” or faded blue lines painted on the parking surface.
 5         23.    Under the 1991 Standards, parking spaces and access aisles must be level
 6   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
 7   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
 8   shall be part of an accessible route to the building or facility entrance and shall comply
 9   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
10   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
11   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
12   directions. 1991 Standards § 4.6.3.
13         24.    Here, the access aisles are not level with the parking spaces. Under the 2010
14   Standards, access aisles shall be at the same level as the parking spaces they serve.
15   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
16   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
17   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
18         25.    A public accommodation shall maintain in operable working condition those
19   features of facilities and equipment that are required to be readily accessible to and usable
20   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
21   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
22   violation of Plaintiff’s rights under the ADA and its related regulations.
23         26.    The Business has denied and continues to deny full and equal access to
24   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
25   discriminated against due to the lack of accessible facilities, and therefore, seeks
26   injunctive relief to alter facilities to make such facilities readily accessible to and usable
27   by individuals with disabilities.
28   //



                                    COMPLAINT FOR DAMAGES - 7
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 1                                 SECOND CAUSE OF ACTION
 2                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 3         27.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         28.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 6   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 7   national origin, disability, medical condition, genetic information, marital status, sexual
 8   orientation, citizenship, primary language, or immigration status are entitled to the full
 9   and equal accommodations, advantages, facilities, privileges, or services in all business
10   establishments of every kind whatsoever.”
11         29.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
12   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
13   for each and every offense for the actual damages, and any amount that may be
14   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
15   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
16   attorney’s fees that may be determined by the court in addition thereto, suffered by any
17   person denied the rights provided in Section 51, 51.5, or 51.6.
18         30.    California Civil Code § 51(f) specifies, “a violation of the right of any
19   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
20   shall also constitute a violation of this section.”
21         31.    The actions and omissions of Defendants alleged herein constitute a denial
22   of full and equal accommodation, advantages, facilities, privileges, or services by
23   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
24   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
25   51 and 52.
26         32.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
27   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
28   damages as specified in California Civil Code §55.56(a)-(c).



                                     COMPLAINT FOR DAMAGES - 8
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 1                                 THIRD CAUSE OF ACTION
 2               VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 3         33.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         34.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 6   entitled to full and equal access, as other members of the general public, to
 7   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 8   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 9   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
10   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
11   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
12   places of public accommodations, amusement, or resort, and other places in which the
13   general public is invited, subject only to the conditions and limitations established by
14   law, or state or federal regulation, and applicable alike to all persons.
15         35.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
16   corporation who denies or interferes with admittance to or enjoyment of public facilities
17   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
18   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
19   the actual damages, and any amount as may be determined by a jury, or a court sitting
20   without a jury, up to a maximum of three times the amount of actual damages but in no
21   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
22   determined by the court in addition thereto, suffered by any person denied the rights
23   provided in Section 54, 54.1, and 54.2.
24         36.    California Civil Code § 54(d) specifies, “a violation of the right of an
25   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
26   constitute a violation of this section, and nothing in this section shall be construed to limit
27   the access of any person in violation of that act.
28




                                     COMPLAINT FOR DAMAGES - 9
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 1           37.   The actions and omissions of Defendants alleged herein constitute a denial
 2    of full and equal accommodation, advantages, and facilities by physically disabled
 3    persons within the meaning of California Civil Code § 54. Defendants have
 4    discriminated against Plaintiff in violation of California Civil Code § 54.
 5           38.   The violations of the California Disabled Persons Act caused Plaintiff to
 6    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 7    statutory damages as specified in California Civil Code §55.56(a)-(c).
 8                                 FOURTH CAUSE OF ACTION
 9                                 UNFAIR COMPETITION ACT
10           39.   Plaintiff incorporates by reference each of the allegations in all prior
11    paragraphs in this complaint.
12           40.   Defendants have engaged in unfair competition, unfair or fraudulent
13    business practices, and unfair, deceptive, untrue or misleading advertising in violation of
14    the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
15           41.   Defendants engage in business practices and policies that create systemic
16    barriers to full and equal access for people with disability in violation of state and federal
17    law.
18           42.   The actions and omissions of Defendants are unfair and injurious to
19    Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
20    unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
21    provided with goods and services provided to other consumers. Plaintiff seeks relief
22    necessary to prevent Defendants’ continued unfair business practices and policies and
23    restitution of any month that Defendants acquired by means of such unfair competition,
24    including profits unfairly obtained.
25                                    FIFTH CAUSE OF ACTION
26                                           NEGLIGENCE
27           43.   Plaintiff incorporates by reference each of the allegations in all prior
28    paragraphs in this complaint.



                                    COMPLAINT FOR DAMAGES - 10
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 1           44.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 2    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 3    to the Plaintiff.
 4           45.    Defendants breached their duty of care by violating the provisions of ADA,
 5    Unruh Civil Rights Act and California Disabled Persons Act.
 6           46.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 7    has suffered damages.
 8
 9                                     PRAYER FOR RELIEF
10           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
11    Defendants as follows:
12           1.     For preliminary and permanent injunction directing Defendants to comply
13    with the Americans with Disability Act and the Unruh Civil Rights Act;
14           2.     Award of all appropriate damages, including but not limited to statutory
15    damages, general damages and treble damages in amounts, according to proof;
16           3.     Award of all reasonable restitution for Defendants’ unfair competition
17    practices;
18           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
19    action;
20           5.     Prejudgment interest pursuant to California Civil Code § 3291; and
21           6.     Such other and further relief as the Court deems just and proper.
22    //
23    //
24    //
25    //
26    //
27    //
28    //



                                    COMPLAINT FOR DAMAGES - 11
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 1                               DEMAND FOR TRIAL BY JURY
 2          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3    demands a trial by jury on all issues so triable.
 4
 5    Dated: June 12, 2020             SO. CAL. EQUAL ACCESS GROUP
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 7
 8                                            By:   _/s/ Jason Yoon_______________
                                                    Jason Yoon, Esq.
 9                                            Attorneys for Plaintiff
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                                    COMPLAINT FOR DAMAGES - 12
